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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 15-20545-CR-LENARD

  UNITED STATES OF AMERICA,

         v.

  GUSTAVO A. GIRAL,

         Defendant.
                                               /


              UNITED STATES’ UNOPPOSED MOTION TO AMEND JUDGMENT

         The United States, by and through the undersigned Trial Attorney, hereby files this motion

  respectfully requesting an order in the above-captioned case amending the judgment of the

  defendant Gustavo A. Giral, to include a restitution amount of $11,503,068 to be apportioned as

  detailed in the Restitution Stipulation. (ECF No. 122.) As grounds in support of the United States’

  request, undersigned counsel states as follows:

         1. On July 16, 2015, the United States charged the defendant in an indictment, among

              other counts, with counts of conspiracy to commit wire fraud (18 U.S.C. § 1349), wire

              fraud (18 U.S.C. § 1343), conspiracy to commit money laundering (18 U.S.C. § 1956),

              and money laundering (18 U.S.C. § 1956).           Defendant, along with other co-

              conspirators, was charged for his involvement in a scheme to unlawfully enrich himself

              by defrauding two private lenders, The Factor Group and Expo Credit, as well as the

              Export-Import Bank (EXIM), an agency of the United States government that promotes

              the export of U.S. goods to foreign buyers through the guarantee of domestic loans

              funding the purchase.

         2. On February 26, 2016, the defendant pled guilty to one count of conspiracy to commit
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              wire fraud, one count of wire fraud, and one count of conspiracy to commit money

              laundering. The defendant admitted in the plea agreement and factual proffer to his

              involvement in the fraudulent scheme and agreed to pay restitution in the amount of

              $11,503,068. (ECF No. 74 at ⁋ 3.)

          3. On May 13, 2016, this Court sentenced the defendant to 41 months in prison followed

              by three years of supervised release. (ECF No. 111.) This Court set a restitution

              hearing date for June 27, 2016.

          4. On June 23, 2016, this Court cancelled the restitution hearing. (ECF No. 121.) On

              September 19, 2016, the government and defense filed a joint stipulation on restitution

              agreeing that the defendant owed $11,503,068 in restitution to the parties listed in the

              stipulation. (ECF No. 122.)

          5. The undersigned has conferred with counsel for the defendant, and he indicated that he

              does not oppose the relief requested in the motion.

  WHEREFORE, the United States respectfully requests that the Court issue an order amending the

  judgment of the defendant to include an order of restitution in the amount of $11,503,068 to be

  paid to the parties listed in the Restitution Stipulation.


                                                  Respectfully submitted,


                                                  JOSEPH S. BEEMSTERBOER
                                                  ACTING CHIEF
                                                  CRIMINAL DIVISION, FRAUD SECTION
                                                  U.S. DEPARTMENT OF JUSTICE

                                                  By: /s/ Laura Connelly
                                                  LAURA CONNELLY
                                                  Florida Special Bar No. A5502649
                                                  Trial Attorney
                                                  Fraud Section, Criminal Division
                                                  United States Department of Justice
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  Date: January 24, 2022




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                                 CERTIFICATE OF SERVICE

         I, Laura Connelly, certify that the foregoing has been served on all attorneys of record in

  the above-captioned case, either via the CM/ECF electronic filing system or via email.


                                              By: /s/ Laura Connelly
                                              LAURA CONNELLY
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  Date: January 24, 2022




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